IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

K.C. Hopps, Ltd. v. The Cincinnati Insurance Company, Inc.
Case Name
20-00437-CV-W-SRB

Case Number

JURY’S QUESTION OR REQUEST

The jury has the following question:

kes we have Ki. the, lost bUSNCSS IPLOME
R<poe t | ce\aulahor dont by TAC Acounkrt ?

 

 

 

 

 

 

 

10° 8-2) ; “2
Date: _ ates By: Burr Ont Soren
Time: _!J- ail pm LS

 

 

Response from the Court:

SEE H#25G

 

 

 

 

 

 

 

Judge Stephen R. B gh,\U.S. District Court

Case 4:20-cv-00437-SRB Document 244 Filed 10/28/21 Page 1 of 4
IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

K.C. Hopps, Ltd. v. The Cincinnati Insurance Company, Inc.
Case Name
20-00437-CV-W-SRB

Case Number

JURY’S QUESTION OR REQUEST

The jury has the following question:

‘ereas,
Cyn. We ha VE Exh, b,4 ISS

 

 

 

 

 

 

 

 

Date: JO7X -2) Be twee Cae Jonex™
Time: 1}: /9 pm Vv

Response from the Court:

Se atetS

 

 

 

 

 

Judge Stephen R. ee District Court

Case 4:20-cv-00437-SRB Document 244 Filed 10/28/21 Page 2 of 4
IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

K.C. Hopps, Ltd. v. The Cincinnati Insurance Company, Inc.
Case Name

20-00437-CV-W-SRB
Case Number

JURY’S QUESTION OR REQUEST

The jury has the following question:

Gan we have Yn) ASurance Po loc !

 

 

 

 

 

 

 

 

Date: /O~ 29-2) By: Yow. Orne Jone
Time: _/:17 gm

Response from the Court:

Sa_ 234A

 

 

 

 

 

 

(
Judge Stephen io U.S. District Court

Case 4:20-cv-00437-SRB Document 244 Filed 10/28/21 Page 3 of 4
IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI
WESTERN DIVISION

K.C. Hopps, Ltd. v. The Cincinnati Insurance Company, Inc.
Case Name
20-00437-CV-W-SRB

Case Number

JURY’S QUESTION OR REQUEST

The jury has the following question:

Gn we, pwe He tmelhwe Chiat det Shovel the
Ormrod i agnces yet CSuneS , sic Ping oF jie Clam  ¢k. ?

i

 

 

 

 

 

 

 

 

 

 

 

Date: _/D “a “2 ) By: SAeugs Anne Sapear
Time: _! AS 9 AD *

Response from the Court:

No. Twat is AN exci iQt7 W520 __owey
fo DEMoN STLATIVE PUILPOSES . You WINK WNWAve
Te fecare THe Testimony

 

 

 

Judge Stephen payne. District Court

Case 4:20-cv-00437-SRB Document 244 Filed 10/28/21 Page 4 of 4
